Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 1 of 177 Page ID
                                 #:20818
                                 #:23179


     CENTER FOR HUMAN RIGHTS & CONSTITUTIONAL LAW
1    Peter A. Schey (Cal. Bar No. 58232)
     Carlos Holguín (Cal. Bar No. 90754)
2    256 South Occidental Boulevard
     Los Angeles, CA 90057
3
     Telephone: (213) 388-8693
4    Facsimile: (213) 386-9484
     Email: crholguin@centerforhumanrights.org
5             pschey@centerforhumanrights.org

6    ORRICK, HERRINGTON & SUTCLIFFE LLP
7    Elena Garcia (Cal. Bar No. 299680)
8    777 South Figueroa Street, Suite 3200
     Los Angeles, CA 90017
9    Telephone: (213) 629-2020
     Email: egarcia@orrick.com
10

11   Attorneys for plaintiffs (listing continues on following page)
12
                                 UNITED STATES DISTRICT COURT
13                      CENTRAL DISTRICT OF CALIFORNIA, WESTERN D IVISION

14
     JENNY LISETTE FLORES, et al.,                     )   Case No. CV 85-4544 DMG (AGRx)
15                                                     )
              Plaintiffs,                              )
16   - vs -                                            )   [REDACTED] EXHIBITS IN
17                                                     )
                                                           SUPPORT OF PLAINTIFFS’
     JEFFERSON B. SESSIONS, ATTORNEY GENERAL           )
18   OF THE UNITED STATES, et al.,                     )   RESPONSE TO DEFENDANTS’
                                                       )   FIRST JUVENILE COORDINATOR
19            Defendants.                              )   REPORTS VOLUME 2 OF 12 [FILED
20
                                                       )   UNDER SEAL PURSUANT TO
                                                           ORDER OF THE COURT DATED
21                                                         JULY 16, 2018]
22
                                                           [HON. DOLLY M. GEE]
23
                                                           Hearing: July 27, 2018
24                                                         Time: 10 AM
25

26
27

28
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 2 of 177 Page ID
                                 #:20819
                                 #:23180

1    Plaintiffs’ counsel, continued

2    LA RAZA CENTRO LEGAL, INC.
     Michael S. Sorgen (Cal. Bar No. 43107)
3    474 Valencia Street, #295
     San Francisco, CA 94103
4
     Telephone: (415) 575-3500
5
     THE LAW FOUNDATION OF SILICON VALLEY
6    LEGAL ADVOCATES FOR CHILDREN AND YOUTH
     PUBLIC INTEREST LAW FIRM
7    Jennifer Kelleher Cloyd (Cal. Bar No. 197348)
     Katherine H. Manning (Cal. Bar No. 229233)
8
     Annette Kirkham (Cal. Bar No. 217958)
9    152 North Third Street, 3rd floor
     San Jose, CA 95112
10   Telephone:     (408) 280-2437
     Facsimile:     (408) 288-8850
11   Email: jenniferk@lawfoundation.org
             kate.manning@lawfoundation.org
12
            annettek@lawfoundation.org
13
     Of counsel:
14
     YOUTH LAW CENTER
15   Virginia Corrigan (Cal. Bar No. 292035)
16   832 Folsom Street, Suite 700
     San Francisco, CA 94104
17   Telephone: (415) 543-3379

18
     ///
19

20
21

22

23

24

25

26

27
28
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 3 of 177 Page ID
                                 #:20820
                                 #:23181
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 4 of 177 Page ID
                                 #:20821
                                 #:23182
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 5 of 177 Page ID
                                 #:20822
                                 #:23183
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 6 of 177 Page ID
                                 #:20823
                                 #:23184
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 7 of 177 Page ID
                                 #:20824
                                 #:23185
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 8 of 177 Page ID
                                 #:20825
                                 #:23186
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 9 of 177 Page ID
                                 #:20826
                                 #:23187
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 10 of 177 Page ID
                                  #:20827
                                  #:23188
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 11 of 177 Page ID
                                  #:20828
                                  #:23189




                             Exhibit 11

                                                                           58
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 12 of 177 Page ID
                                  #:20829
                                  #:23190




                                                                           59
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 13 of 177 Page ID
                                  #:20830
                                  #:23191




                                                                           60
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 14 of 177 Page ID
                                  #:20831
                                  #:23192




                                                                           61
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 15 of 177 Page ID
                                  #:20832
                                  #:23193




                                                                           62
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 16 of 177 Page ID
                                  #:20833
                                  #:23194




                                                                           63
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 17 of 177 Page ID
                                  #:20834
                                  #:23195




                                                                           64
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 18 of 177 Page ID
                                  #:20835
                                  #:23196




                                                                           65
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 19 of 177 Page ID
                                  #:20836
                                  #:23197




                                                                           66
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 20 of 177 Page ID
                                  #:20837
                                  #:23198




                                                                           67
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 21 of 177 Page ID
                                  #:20838
                                  #:23199




                                                                           68
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 22 of 177 Page ID
                                  #:20839
                                  #:23200




                                                                           69
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 23 of 177 Page ID
                                  #:20840
                                  #:23201




                                                                           70
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 24 of 177 Page ID
                                  #:20841
                                  #:23202




                                                                           71
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 25 of 177 Page ID
                                  #:20842
                                  #:23203




                                                                           72
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 26 of 177 Page ID
                                  #:20843
                                  #:23204




                                                                           73
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 27 of 177 Page ID
                                  #:20844
                                  #:23205




                                                                           74
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 28 of 177 Page ID
                                  #:20845
                                  #:23206




                                                                           75
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 29 of 177 Page ID
                                  #:20846
                                  #:23207




                                                                           76
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 30 of 177 Page ID
                                  #:20847
                                  #:23208




                                                                           77
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 31 of 177 Page ID
                                  #:20848
                                  #:23209




                                                                           78
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 32 of 177 Page ID
                                  #:20849
                                  #:23210




                                                                           79
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 33 of 177 Page ID
                                  #:20850
                                  #:23211




                                                                           80
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 34 of 177 Page ID
                                  #:20851
                                  #:23212




                                                                           81
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 35 of 177 Page ID
                                  #:20852
                                  #:23213




                                                                           82
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 36 of 177 Page ID
                                  #:20853
                                  #:23214




                                                                           83
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 37 of 177 Page ID
                                  #:20854
                                  #:23215




                                                                           84
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 38 of 177 Page ID
                                  #:20855
                                  #:23216




                                                                           85
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 39 of 177 Page ID
                                  #:20856
                                  #:23217




                                                                           86
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 40 of 177 Page ID
                                  #:20857
                                  #:23218




                                                                           87
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 41 of 177 Page ID
                                  #:20858
                                  #:23219




                                                                           88
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 42 of 177 Page ID
                                  #:20859
                                  #:23220




                                                                           89
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 43 of 177 Page ID
                                  #:20860
                                  #:23221




                                                                           90
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 44 of 177 Page ID
                                  #:20861
                                  #:23222




                                                                           91
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 45 of 177 Page ID
                                  #:20862
                                  #:23223




                                                                           92
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 46 of 177 Page ID
                                  #:20863
                                  #:23224




                                                                           93
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 47 of 177 Page ID
                                  #:20864
                                  #:23225




                                                                           94
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 48 of 177 Page ID
                                  #:20865
                                  #:23226




                                                                           95
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 49 of 177 Page ID
                                  #:20866
                                  #:23227




                                                                           96
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 50 of 177 Page ID
                                  #:20867
                                  #:23228




                                                                           97
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 51 of 177 Page ID
                                  #:20868
                                  #:23229




                                                                           98
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 52 of 177 Page ID
                                  #:20869
                                  #:23230




                                                                           99
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 53 of 177 Page ID
                                  #:20870
                                  #:23231




                                                                          100
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 54 of 177 Page ID
                                  #:20871
                                  #:23232




                                                                          101
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 55 of 177 Page ID
                                  #:20872
                                  #:23233




                                                                          102
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 56 of 177 Page ID
                                  #:20873
                                  #:23234




                                                                          103
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 57 of 177 Page ID
                                  #:20874
                                  #:23235




                                                                          104
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 58 of 177 Page ID
                                  #:20875
                                  #:23236




                                                                          105
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 59 of 177 Page ID
                                  #:20876
                                  #:23237




                                                                          106
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 60 of 177 Page ID
                                  #:20877
                                  #:23238




                                                                          107
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 61 of 177 Page ID
                                  #:20878
                                  #:23239




                                                                          108
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 62 of 177 Page ID
                                  #:20879
                                  #:23240




                                                                          109
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 63 of 177 Page ID
                                  #:20880
                                  #:23241




                                                                          110
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 64 of 177 Page ID
                                  #:20881
                                  #:23242




                                                                          111
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 65 of 177 Page ID
                                  #:20882
                                  #:23243




                                                                          112
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 66 of 177 Page ID
                                  #:20883
                                  #:23244




                                                                          113
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 67 of 177 Page ID
                                  #:20884
                                  #:23245




                                                                          114
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 68 of 177 Page ID
                                  #:20885
                                  #:23246




                                                                          115
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 69 of 177 Page ID
                                  #:20886
                                  #:23247




                                                                          116
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 70 of 177 Page ID
                                  #:20887
                                  #:23248




                                                                          117
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 71 of 177 Page ID
                                  #:20888
                                  #:23249




                                                                          118
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 72 of 177 Page ID
                                  #:20889
                                  #:23250




                                                                          119
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 73 of 177 Page ID
                                  #:20890
                                  #:23251




                                                                          120
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 74 of 177 Page ID
                                  #:20891
                                  #:23252




                                                                          121
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 75 of 177 Page ID
                                  #:20892
                                  #:23253




                                                                          122
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 76 of 177 Page ID
                                  #:20893
                                  #:23254




                                                                          123
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 77 of 177 Page ID
                                  #:20894
                                  #:23255




                                                                          124
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 78 of 177 Page ID
                                  #:20895
                                  #:23256




                                                                          125
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 79 of 177 Page ID
                                  #:20896
                                  #:23257




                                                                          126
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 80 of 177 Page ID
                                  #:20897
                                  #:23258




                                                                          127
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 81 of 177 Page ID
                                  #:20898
                                  #:23259




                                                                          128
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 82 of 177 Page ID
                                  #:20899
                                  #:23260




                                                                          129
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 83 of 177 Page ID
                                  #:20900
                                  #:23261




                                                                          130
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 84 of 177 Page ID
                                  #:20901
                                  #:23262




                                                                          131
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 85 of 177 Page ID
                                  #:20902
                                  #:23263




                                                                          132
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 86 of 177 Page ID
                                  #:20903
                                  #:23264




                                                                          133
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 87 of 177 Page ID
                                  #:20904
                                  #:23265




                                                                          134
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 88 of 177 Page ID
                                  #:20905
                                  #:23266




                                                                          135
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 89 of 177 Page ID
                                  #:20906
                                  #:23267




                                                                          136
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 90 of 177 Page ID
                                  #:20907
                                  #:23268




                                                                          137
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 91 of 177 Page ID
                                  #:20908
                                  #:23269




                                                                          138
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 92 of 177 Page ID
                                  #:20909
                                  #:23270




                                                                          139
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 93 of 177 Page ID
                                  #:20910
                                  #:23271




                                                                          140
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 94 of 177 Page ID
                                  #:20911
                                  #:23272




                                                                          141
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 95 of 177 Page ID
                                  #:20912
                                  #:23273




                                                                          142
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 96 of 177 Page ID
                                  #:20913
                                  #:23274




                                                                          143
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 97 of 177 Page ID
                                  #:20914
                                  #:23275




                                                                          144
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 98 of 177 Page ID
                                  #:20915
                                  #:23276




                                                                          145
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 99 of 177 Page ID
                                  #:20916
                                  #:23277




                                                                          146
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 100 of 177 Page ID
                                  #:20917
                                  #:23278




                                                                          147
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 101 of 177 Page ID
                                  #:20918
                                  #:23279




                                                                          148
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 102 of 177 Page ID
                                  #:20919
                                  #:23280




                                                                          149
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 103 of 177 Page ID
                                  #:20920
                                  #:23281




                                                                          150
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 104 of 177 Page ID
                                  #:20921
                                  #:23282




                                                                          151
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 105 of 177 Page ID
                                  #:20922
                                  #:23283




                                                                          152
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 106 of 177 Page ID
                                  #:20923
                                  #:23284




                                                                          153
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 107 of 177 Page ID
                                  #:20924
                                  #:23285




                                                                          154
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 108 of 177 Page ID
                                  #:20925
                                  #:23286




                                                                          155
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 109 of 177 Page ID
                                  #:20926
                                  #:23287




                                                                          156
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 110 of 177 Page ID
                                  #:20927
                                  #:23288




                                                                          157
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 111 of 177 Page ID
                                  #:20928
                                  #:23289




                                                                          158
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 112 of 177 Page ID
                                  #:20929
                                  #:23290




                                                                          159
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 113 of 177 Page ID
                                  #:20930
                                  #:23291




                                                                          160
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 114 of 177 Page ID
                                  #:20931
                                  #:23292




                                                                          161
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 115 of 177 Page ID
                                  #:20932
                                  #:23293




                                                                          162
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 116 of 177 Page ID
                                  #:20933
                                  #:23294




                                                                          163
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 117 of 177 Page ID
                                  #:20934
                                  #:23295




                                                                          164
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 118 of 177 Page ID
                                  #:20935
                                  #:23296




                                                                          165
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 119 of 177 Page ID
                                  #:20936
                                  #:23297




                                                                          166
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 120 of 177 Page ID
                                  #:20937
                                  #:23298




                                                                          167
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 121 of 177 Page ID
                                  #:20938
                                  #:23299




                                                                          168
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 122 of 177 Page ID
                                  #:20939
                                  #:23300




                                                                          169
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 123 of 177 Page ID
                                  #:20940
                                  #:23301




                                                                          170
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 124 of 177 Page ID
                                  #:20941
                                  #:23302




                                                                          171
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 125 of 177 Page ID
                                  #:20942
                                  #:23303




                                                                          172
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 126 of 177 Page ID
                                  #:20943
                                  #:23304




                                                                          173
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 127 of 177 Page ID
                                  #:20944
                                  #:23305




                                                                          174
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 128 of 177 Page ID
                                  #:20945
                                  #:23306




                                                                          175
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 129 of 177 Page ID
                                  #:20946
                                  #:23307




                                                                          176
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 130 of 177 Page ID
                                  #:20947
                                  #:23308




                                                                          177
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 131 of 177 Page ID
                                  #:20948
                                  #:23309




                                                                          178
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 132 of 177 Page ID
                                  #:20949
                                  #:23310




                                                                          179
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 133 of 177 Page ID
                                  #:20950
                                  #:23311




                                                                          180
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 134 of 177 Page ID
                                  #:20951
                                  #:23312




                                                                          181
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 135 of 177 Page ID
                                  #:20952
                                  #:23313




                                                                          182
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 136 of 177 Page ID
                                  #:20953
                                  #:23314




                                                                          183
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 137 of 177 Page ID
                                  #:20954
                                  #:23315




                                                                          184
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 138 of 177 Page ID
                                  #:20955
                                  #:23316




                                                                          185
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 139 of 177 Page ID
                                  #:20956
                                  #:23317




                                                                          186
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 140 of 177 Page ID
                                  #:20957
                                  #:23318




                                                                          187
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 141 of 177 Page ID
                                  #:23319
                                  #:20958




                                                                          188
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 142 of 177 Page ID
                                  #:20959
                                  #:23320




                                                                          189
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 143 of 177 Page ID
                                  #:20960
                                  #:23321




                                                                          190
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 144 of 177 Page ID
                                  #:20961
                                  #:23322




                                                                          191
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 145 of 177 Page ID
                                  #:20962
                                  #:23323




                                                                          192
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 146 of 177 Page ID
                                  #:20963
                                  #:23324




                                                                          193
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 147 of 177 Page ID
                                  #:20964
                                  #:23325




                                                                          194
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 148 of 177 Page ID
                                  #:20965
                                  #:23326




                                                                          195
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 149 of 177 Page ID
                                  #:20966
                                  #:23327




                                                                          196
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 150 of 177 Page ID
                                  #:20967
                                  #:23328




                                                                          197
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 151 of 177 Page ID
                                  #:20968
                                  #:23329




                                                                          198
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 152 of 177 Page ID
                                  #:20969
                                  #:23330




                                                                          199
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 153 of 177 Page ID
                                  #:20970
                                  #:23331




                                                                          200
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 154 of 177 Page ID
                                  #:20971
                                  #:23332




                                                                          201
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 155 of 177 Page ID
                                  #:20972
                                  #:23333




                                                                          202
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 156 of 177 Page ID
                                  #:20973
                                  #:23334




                                                                          203
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 157 of 177 Page ID
                                  #:20974
                                  #:23335




                                                                          204
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 158 of 177 Page ID
                                  #:20975
                                  #:23336




                                                                          205
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 159 of 177 Page ID
                                  #:20976
                                  #:23337




                                                                          206
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 160 of 177 Page ID
                                  #:20977
                                  #:23338




                                                                          207
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 161 of 177 Page ID
                                  #:20978
                                  #:23339




                                                                          208
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 162 of 177 Page ID
                                  #:20979
                                  #:23340




                                                                          209
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 163 of 177 Page ID
                                  #:20980
                                  #:23341




                                                                          210
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 164 of 177 Page ID
                                  #:20981
                                  #:23342




                                                                          211
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 165 of 177 Page ID
                                  #:20982
                                  #:23343




                                                                          212
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 166 of 177 Page ID
                                  #:20983
                                  #:23344




                                                                          213
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 167 of 177 Page ID
                                  #:20984
                                  #:23345




                                                                          214
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 168 of 177 Page ID
                                  #:20985
                                  #:23346




                                                                          215
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 169 of 177 Page ID
                                  #:20986
                                  #:23347




                                                                          216
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 170 of 177 Page ID
                                  #:20987
                                  #:23348




                                                                          217
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 171 of 177 Page ID
                                  #:20988
                                  #:23349




                                                                          218
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 172 of 177 Page ID
                                  #:20989
                                  #:23350




                                                                          219
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 173 of 177 Page ID
                                  #:20990
                                  #:23351




                                                                          220
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 174 of 177 Page ID
                                  #:20991
                                  #:23352




                                                                          221
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 175 of 177 Page ID
                                  #:20992
                                  #:23353




                                                                          222
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 176 of 177 Page ID
                                  #:20993
                                  #:23354




                                                                          223
Case 2:85-cv-04544-DMG-AGR Document 462-2 Filed 07/19/18 Page 177 of 177 Page ID
                                  #:20994
                                  #:23355

                                     CERTIFICATE OF SERVICE
1
           I, Peter Schey, declare and say as follows:
2

3          I am over the age of eighteen years of age and am a party to this action. I am
4
     employed in the County of Los Angeles, State of California. My business address is
5
     256 S. Occidental Blvd., Los Angeles, CA 90057, in said county and state.
6

7          On July 19, 2018, I electronically filed the following document(s):
8
        • [REDACTED] EXHIBITS IN SUPPORT OF PLAINTIFFS’ RESPONSE TO
9         DEFENDANTS’ THIRD JUVENILE COORDINATOR REPORTS VOLUME
10        2 OF 12 [FILED UNDER SEAL PURSUANT TO ORDER OF THE
          COURT DATED JULY 16, 2018]
11

12   with the United States District Court, Central District of California by using the
13
     CM/ECF system. Participants in the case who are registered CM/ECF users will be
14
     served by the CM/ECF system.
15

16                                                /s/Peter Schey
                                                  Attorney for Plaintiffs
17

18

19
20

21

22

23

24

25

26
27

28

                                                 1
